            Case 6:18-bk-17211-SY                Doc 80 Filed 06/18/20 Entered 06/18/20 11:35:49              Desc
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                 1    Lynda T. Bui, Trustee
                      3550 Vine Street, Suite 210
                 2    Riverside, California 92507
                      Telephone: (949) 340-3400
                 3    Facsimile:   (949) 340-3000
                      Email:       trustee.bui@shulmanbastian.com
                 4

                 5    Chapter 7 Trustee
                 6

                 7

                 8                                  UNITED STATES BANKRUPTCY COURT
                 9                    CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION
               10

               11      In re                                                   Case No. 6:18-bk-17211-SY
               12      RONALD CLOER and                                        Chapter 7
                       SUZANNE M. CLOER,
               13                                                              SUPPLEMENTAL BRIEF IN SUPPORT OF
                       Debtors.                                                CHAPTER 7 TRUSTEE’S AMENDED
               14                                                              APPLICATION FOR AN ORDER
                                                                               AUTHORIZING EMPLOYMENT OF
               15                                                              THE BROKER TEAM OF PRO REALTY
                                                                               GROUP AND BK GLOBAL REAL ESTATE
               16                                                              SERVICES AS REAL ESTATE BROKER
               17                                                              Date: July 2, 2020
                                                                               Time: 9:30 a.m.
               18                                                              Place: Courtroom 302
                                                                                      United States Bankruptcy Court
               19                                                                     3420 Twelfth Street
                                                                                      Riverside, CA 92501
               20

               21     TO THE HONORABLE SCOTT H. YUN, UNITED STATES BANKRUPTCY JUDGE,
               22     THE OFFICE OF THE UNITED STATES TRUSTEE, AND OTHER PARTIES-IN-
               23     INTEREST:
               24              Lynda T. Bui (“Trustee”), the duly appointed, qualified and acting Chapter 7 trustee
               25     for the bankruptcy estate (“Estate”) of Ronald Cloer and Suzanne M. Cloer (“Debtors”), in
               26     accordance with the Court’s request for further briefing, files this supplemental brief in
               27     support of her Amended Application for an order Authorizing Employment of the Broker
               28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
                                                                               1
     Suite 210        Employ App Broker Team TC Cloer, Supplemental Brief v2
Riverside, CA 92507   23101-000\EXP. 23
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                 1    Team of Pro Realty Group and BK Global Real Estate Services as Real Estate Broker
                 2    (“Application”), and respectfully represents as follows:
                 3             On April 28, 2020, the Trustee filed the Application (docket number 76). Having
                 4    received no opposition to the Application, on May 19, 2020, the Trustee filed a Declaration
                 5    That No Party Requested a Hearing on Motion (docket number 77) and uploaded a
                 6    proposed Order on the Application. On June 1, 2020, the Court rejected the proposed
                 7    Order and requested that the Trustee set the Application for hearing and submit additional
                 8    briefing regarding “how Pro Realty and BK Global will split the commission and whether,
                 9    under California law, a California licensed broker can share fees with a non-California
               10     licensed broker.”
               11              In response to the Court’s inquiry, Pro Realty will receive 2%, BK Global will
               12     receive 2% and buyer’s agent will receive 2% of the total 6% commission. BK Global is
               13     getting the commission effectively for successfully negotiating with the lenders for a short
               14     pay. With respect to the Court’s second inquiry, pursuant to California Business and
               15     Professions Code (“BPC”) Section 10137, a licensed California broker may share fees
               16     with another licensed non-California broker. California Business and Professions Code §
               17     10137 provides in relevant part as follows:
               18
                               It is unlawful for any licensed real estate broker to retain, compensate,
               19              directly or indirectly, any person for performing any of the acts within the
                               scope of this chapter who is not a licensed real estate broker, or a real
               20              estate salesperson licensed under the responsible broker retaining or
                               compensating him or her, or to retain or compensate, directly or indirectly,
               21
                               any licensee for engaging in any activity for which a mortgage loan
               22              originator license endorsement is required, if that licensee does not hold a
                               mortgage loan originator license endorsement; provided, however, that a
               23              licensed real estate broker may pay a commission to a broker of
                               another state.
               24

               25     See BPC 10137 (emphasis added). That is, under California law, a non-California broker
               26     may receive commission so long as the broker is licensed in another state. Here, BK
               27     Global is licensed in the state of Florida as set forth in the Declaration of Patrick Butler,
               28     attached to the Application.
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
                                                                               2
     Suite 210        Employ App Broker Team TC Cloer, Supplemental Brief v2
Riverside, CA 92507   23101-000\EXP. 23
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                 1             Based on the explanation above and arguments made in the Application, the
                 2    Trustee respectfully requests that the Court grant the Application as requested.
                 3

                 4
                       Dated: June 18, 2020                           /s/ Lynda T. Bui
                 5                                                  Lynda T. Bui
                                                                    Chapter 7 Trustee for the bankruptcy estate of
                 6                                                  Ronald Cloer and Suzanne M. Cloer

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   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
                                                                               3
     Suite 210        Employ App Broker Team TC Cloer, Supplemental Brief v2
Riverside, CA 92507   23101-000\EXP. 23
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
100 Spectrum Center Drive, Suite 600, Irvine, CA 92618.

A true and correct copy of the foregoing document entitled (specify): SUPPLEMENTAL BRIEF IN SUPPORT OF CHAPTER
7 TRUSTEE’S AMENDED APPLICATION FOR AN ORDER AUTHORIZING EMPLOYMENT OF THE BROKER TEAM
OF PRO REALTY GROUP AND BK GLOBAL REAL ESTATE SERVICES AS REAL ESTATE BROKER will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 18, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   Attorney for Debtors: Gregory Ashcraft firm@ashcraftfirm.com, ashcraftgr66567@notify.bestcase.com
    •   Chapter 7 Trustee: Lynda T. Bui (TR) trustee.bui@shulmanbastian.com, C115@ecfcbis.com
    •   Attorney for Western Riverside Council of Governments Caroline Djang caroline.djang@bbklaw.com,
        sansanee.wells@bbklaw.com
    •   Attorney for Trustee: Brandon J Iskander biskander@shulmanbastian.com, avernon@shulmanbastian.com
    •   Interested Party: Alexander K Lee ecfcacb@aldridgepite.com, akl@ecf.courtdrive.com
    •   Interested Party: Rejoy Nalkara rejoy.nalkara@americaninfosource.com
    •   Attorney for Trustee: Leonard M Shulman lshulman@shulmanbastian.com
    •   Interested Party: Cheryl A Skigin ca.ecf@aislaw.com, caskigin@earthlink.net
    •   Interested Party: United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) June 18, 2020, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Judge's Copy:
U.S. Bankruptcy Court
Attn: Honorable Scott H. Yun
3420 Twelfth Street, Suite 345
Riverside, CA 92501

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  June 18, 2020                          Erlanna Lohayza                                                      /s/ Erlanna Lohayza
  Date                                   Printed Name                                                         Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
